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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 DONALD J. TRUMP FOR PRESIDENT,                      )      CIVIL ACTION No. 2-20-cv-966
 INC.; GLENN THOMPSON; MIKE KELLY;                   )
 JOHN JOYCE; GUY RESCHENTHALER;                      )
 REPUBLICAN NATIONAL COMMITTEE;                      )
 MELANIE STRINGHILL PATTERSON; and                   )
 CLAYTON DAVID SHOW,                                 )
                                                     )
                Plaintiffs,                          )
                                                     )
        v.                                           )
                                                     )
 KATHY BOOCKVAR, in her capacity as                  )
 Secretary of the Commonwealth of                    )
 Pennsylvania; et al.,                               )
                                                     )
                Defendants.
                                                     )


                                    [PROPOSED] ORDER

       AND NOW, this _____ day of ___________ 2020, upon consideration of the Motion to

Intervene as Defendants by Citizens for Pennsylvania’s Future and the Sierra Club (“Applicants”)

and any opposition thereto, IT IS HEREBY ORDERED that the Motion to Intervene is

GRANTED pursuant to Fed. R. Civ. P. 24(a).

       The Court further GRANTS Applicants leave to file a responsive pleading on the same

schedule as the current Defendants as set forth in the Court’s July 17, 2020 Scheduling Order, or

within 3 business days of the Court’s order granting this motion, whichever is later.



                                                         BY THE COURT:



                                                         Hon. J. Nicholas Ranjan
                                                         United States District Judge


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